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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

NATHAN ROBERTS and FREEDOM TRUCK
DISPATCH LLC, on behalf of themselves and
all others similarly situated,            Case No.: 1:23-cv-01597-PAG

               Plaintiffs,                        JUDGE PATRICIA A. GAUGHAN
                                                  Magistrate Judge James E. Grimes, Jr.
v.
                                                  DEFENDANT CIRCULAR BOARD INC.’S
PROGRESSIVE PREFERRED                             MOTION TO DISMISS PLAINTIFFS’
INSURANCE COMPANY;                                FIRST AMENDED CLASS-ACTION
PROGRESSIVE CASUALTY                              COMPLAINT, OR TO STAY AND
INSURANCE COMPANY; CIRCULAR                       COMPEL ARBITRATION UNDER THE
BOARD INC.,                                       FEDERAL ARBITRATION ACT, OR TO
                                                  TRANSFER VENUE UNDER 28 U.S.C.
               Defendants.                        § 1404(A)


       Defendant Circular Board Inc. (“Hello Alice”) respectfully moves this Court under Federal

Rules of Civil Procedure 12(b)(1) and 12(b)(6) to dismiss Plaintiffs’ First Amended Class-Action

Complaint (“Amended Complaint” or “FAC”) for the reasons given in the accompanying

Memorandum of Law. In the alternative, Hello Alice respectfully moves the Court to stay this

action and compel arbitration under the Federal Arbitration Act, 9 U.S.C. §§ 3-4, or, at a minimum,

to transfer venue under 28 U.S.C. § 1404(a).
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                                       Respectfully submitted,

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                        STATEMENT OF ISSUES TO BE DECIDED

       Plaintiffs Nathan Roberts and Freedom Truck Dispatch LLC allege that Defendants Hello

Alice and Progressive Insurance Company violated the Civil Rights Act of 1866, 42 U.S.C. § 1981,

by making grants available for Black owned businesses.

       Issue One:     Whether Plaintiffs lack Article III standing or fail to state a claim under

Section 1981 because they have not plausibly pled that race was a “but for” cause of their failure

to qualify for the challenged grant program.

       Issue Two:     Whether the challenged grant program involves a “contract” subject to

Section 1981 or is instead a gratuitous promise.

       Issue Three: If the Court concludes there is a contract, whether the Court must stay this

action and compel arbitration under the Federal Arbitration Act, 9 U.S.C. §§ 3-4.

       Issue Four:    If the Court does not compel arbitration, whether the Court should transfer

venue to the Northern District of California under 28 U.S.C. § 1404(a).

       Issue Five:    Whether applying Section 1981 to a grant program adopted with the express

purpose of combatting sociopolitical inequalities would violate the First Amendment.

       Issue Six:     Whether the grant program is valid as a voluntary, private affirmative action

program under Johnson v. Transportation Agency, Santa Clara County, 480 U.S. 616 (1987).




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                                 SUMMARY OF THE ARGUMENT

       Plaintiffs’ claims are part of a coordinated campaign to end the private sector’s efforts to

combat the lingering economic effects of racism. Plaintiffs contend that the Civil Rights Act of

1866—enacted to remedy the evils of slavery—prohibits private companies from choosing to

make charitable grants available to Black owned businesses.             Specifically, they claim that

Defendants Progressive Insurance Company and Circular Board Inc. (“Hello Alice”)—an online

resource platform that facilitates grants to small businesses—violated the Civil Rights Act by

offering ten grants for Black owned businesses to use toward the purchase of commercial vehicles.

       This lawsuit is wrong in every relevant respect. Hello Alice’s mission is to help small

businesses, and Hello Alice vehemently opposes racial discrimination.                Indeed, a critical

component of Hello Alice’s mission is to combat the effects that generations of pernicious racism

have had on America’s capital infrastructure. Federal law does not compel purely private actors

like Hello Alice, when choosing how and to whom they will donate money, to blind themselves to

the centuries of invidious racism that have produced substantial existing racial inequities in access

to capital. As the amici organizations explain, this suit is in fact “antithetical to and outside the

scope of Section 1981’s congressional purpose.” Br. of Southern Poverty Law Center et al., ECF

No. 21-1, at 2 (Dec. 20, 2023) (“Amicus Br.”).

       Despite their efforts to cure the complaint’s many problems through amendment, Plaintiffs’

complaint remains legally defective in multiple independent respects and, in any event, should not

have been filed in this Court.

       First, Plaintiffs still fail to allege that the race-based eligibility requirement was a “but for”

cause of their inability to receive a grant. The grant program had multiple other eligibility

requirements that had nothing to do with race, and Plaintiffs must allege that they met those criteria

to allege both standing under Article III and the essential causation element of a Section 1981


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claim. Plaintiffs’ initial complaint failed to include any allegations about these requirements, and

their amendments fail to cure that defect. They now include a barebones statement that they “met”

the criteria devoid of any corroborating factual content—a statement that fails to clear the

plausibility threshold.

       Second, the statutory provision that Plaintiffs have sued under, 42 U.S.C. § 1981(a), applies

only to the right “to make and enforce contracts.” But the grant program alleged involves no

contract at all—it is a gratuitous promise accompanied by minimally burdensome conditions.

       Third, if Plaintiffs are correct that contract law governs the grant program, the Court must

send this case to arbitration. The terms and conditions that Plaintiffs rely upon to establish the

existence of a contract require any dispute “arising out of or related to” the terms to be resolved

through arbitration. Equitable estoppel prevents Plaintiffs from evading these terms simply by

refusing to complete the application before filing suit. And, critically, the question of arbitrability

under an estoppel theory has itself been delegated to an arbitrator.

       Fourth, if the Court does not dismiss on standing grounds or compel arbitration, it should

enforce the forum selection clause that Plaintiffs agreed to when they opened a Hello Alice account

and transfer this action to the Northern District of California.

       Fifth, applying Section 1981 to this grant program would violate Hello Alice’s First

Amendment right to freedom of speech.           Hello Alice’s altruistic giving is protected First

Amendment activity under long-settled precedent, and cannot be compelled to make grants that

conflict with its political and economic beliefs.

       Sixth, this program is lawful as a bona fide affirmative action program under Johnson v.

Transportation Agency, Santa Clara County, 480 U.S. 616 (1987).




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       Hello Alice respectfully submits this memorandum in support of its motion to dismiss

under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), or to stay this litigation and

compel arbitration under the Federal Arbitration Act (FAA), 9 U.S.C. §§ 3-4, or, at a minimum,

to transfer venue under 28 U.S.C. § 1404(a).

                                        BACKGROUND

       Hello Alice is an online resource platform that, among other things, facilitates providing

grants to small businesses. See First Am. Compl. (“FAC”) ¶ 8.1 It has helped “over one million

small businesses access capital.” FAC Ex. 4 at 2. Hello Alice’s platform hosts grants for “small

business owners of all backgrounds and ethnicities.” Id. at 3.

       In May 2023, Hello Alice, working with Progressive Insurance Company, offered ten

grants of up to $25,000 each for “Black-owned small businesses to use toward the purchase of a

commercial vehicle.” FAC ¶¶ 8, 11-12, 16. Hello Alice’s role was “[t]o administer the grant

program.” FAC Ex. 4 at 2; FAC ¶ 16. The grant program’s goal was “to alleviate [the] challenge”

resulting from demonstrated “inequities” that “have made it harder for Black entrepreneurs to

access capital.” FAC Ex. 3 at 2. Press materials cited a study stating that although “20 percent of

Black Americans start businesses, only four percent of these businesses survive the startup stage

due in large part to the difficulty Black business owners have in accessing financing.” FAC Ex. 4

at 2 (citing a study by McKinsey & Company).

       The Progressive grants also had numerous eligibility criteria unrelated to race. See FAC

Ex. 3 at 3; see also FAC ¶ 18. Applicants had to be a for-profit business with ten or fewer

employees and under $5 million in gross annual revenue. FAC Ex. 3 at 3. Applicants also had to

demonstrate “need for a qualifying commercial vehicle” along with “a clear plan for growth as a


1
 For the limited purposes of this motion, Hello Alice treats all allegations in the complaint as true
as required by Rule 12.


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result of this vehicle purchase.” Id. Finally, applicants could not be “an independent contractor

whose primary business is for a rideshare . . . or third-party food delivery” service.              Id.

Applications had to be submitted by June 2023. See FAC Ex. 3 at 2.

       The grant’s full terms and conditions (“Grant Terms”) required “acknowledg[ing] that

[Hello Alice] will collect private or personal data . . . submitted” in the application, may share that

information with Progressive, and may use the information for promotional and marketing

purposes. Mot. Ex. 1 at 6-7.2 The Grant Terms also require any “dispute arising out of or relating

to the Program or these Terms and Conditions” to be resolved “individually and exclusively by

final and binding arbitration.” Id.

       Plaintiff Nathan Roberts, a White man, is the sole owner and member of Plaintiff Freedom

Truck Dispatch LLC. FAC ¶¶ 10, 28. Roberts received an email from Progressive advertising the

grant and “began filling” out the application. Id. ¶¶ 26-28. Filling out the application required

Roberts to create an account with Hello Alice, which he did within a day of receiving the email

advertising the grant program. See Mot. Ex. 2. The terms and conditions for creating an account

(“Account Terms”) included a forum selection clause designating the state and federal courts of

Sonoma County, California, as the exclusive venue for disputes between Roberts and Hello Alice.

Mot. Ex. 3 at 16. Roberts agreed to the Account Terms by creating an account. See Mot. Ex. 4.

       When “Roberts came to [the] part of the application that made clear that the grants were

available only to black-owned businesses,” he “closed the application” and did not finish applying

“because he is white and his business is white-owned.” FAC ¶ 28. Within a day of receiving the

grant email, Roberts forwarded it to the America First Legal Foundation. FAC Ex. 1 at 1.



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  The Amended Complaint links to the Grant Terms, FAC ¶ 19, and the Grant Terms are therefore
incorporated by reference and may be considered under Rule 12. See Dulberg v. Uber Techs.,
Inc., No. C 17-00850 WHA, 2017 WL 3232426, at *3 (N.D. Cal. July 31, 2017).


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       Plaintiffs sued Progressive and Hello Alice, alleging a single cause of action under the

Civil Rights Act of 1866, 42 U.S.C. § 1981. See FAC ¶¶ 45-50. They seek damages and injunctive

relief on behalf of themselves and a putative class including “all individuals who were or are ‘able

and ready’ to apply to Progressive’s . . . grant program . . . and have been or would be subjected

to adverse racial discrimination” as a result of applying. See id. ¶¶ 36, 51.

                                     LEGAL STANDARDS

       Rule 12(b)(6) directs the Court to dismiss an action “if the complaint does not state a claim

upon which relief can be granted.” Fla. Carpenters Reg’l Council Pension Plan v. Eaton Corp.,

964 F. Supp. 2d 875, 883 (N.D. Ohio 2013), aff’d sub nom., In re KBC Asset Mgmt. N.V., 572 F.

App’x 356 (6th Cir. 2014). Rule 12(b)(1) similarly directs dismissal where a complaint on its face

fails to allege facts sufficient to establish Article III standing. Yedlick v. Comm’r, IRS, No. 19 CV

2139, 2020 WL 364245, at *2 (N.D. Ohio Jan. 21, 2020). Under both rules, a court must “accept

all factual allegations as true” but cannot accept “legal conclusions unsupported by factual

allegations.” Fla. Carpenters, 964 F. Supp. 2d at 883 (citation omitted). As to factual allegations,

a complaint must include “sufficient ‘factual content’ from which a court . . . could ‘draw the

reasonable inference’” that the allegation is true. Keys v. Humana, Inc., 684 F.3d 605, 610 (6th

Cir. 2012) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). “‘[N]aked assertions . . .’

contribute nothing to the sufficiency of the complaint.” 16630 Southfield Ltd. P’ship v. Flagstar

Bank, F.S.B., 727 F.3d 502, 506 (6th Cir. 2013) (quoting Iqbal, 556 U.S. at 678).

       Under Section 3 of the FAA, a court “shall stay the action until arbitration is had where the

issue before the court is ‘referrable to arbitration under such an agreement.’” Aggarwal v.

Raytheon Co., No. 08 CV 1158, 2008 WL 11381827, at *3 (N.D. Ohio Sept. 16, 2008) (quoting 9

U.S.C. § 3). Section 4 of the FAA authorizes the court to issue “an order directing that . . .

arbitration proceed in the manner provided for in such agreement.” 9 U.S.C. § 4.


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       Under 28 U.S.C. § 1404(a), a court “may transfer any civil action to any other district or

division where it might have been brought or to any district or division in which all parties have

consented.” “In all but the most unusual cases,” this provision requires courts to “transfer the case

to the forum specified in a” forum selection clause. Atl. Marine Constr. Co. v. U.S. Dist. Ct. for

W.D. Tex., 571 U.S. 49, 52, 66 (2013). In considering a motion to transfer, a court may consider

“[w]ritten documentary evidence submitted” outside the complaint. Regan v. Encompass Sols.,

No. 1:20 CV 02305, 2020 WL 7352665, at *1 (N.D. Ohio Dec. 14, 2020).

                                           ARGUMENT

I.     PLAINTIFFS FAIL TO ALLEGE CAUSATION UNDER ARTICLE III AND
       SECTION 1981.

       A plaintiff must plead “but for” causation both to establish Article III standing and to state

a claim under Section 1981. This means a plaintiff must plead that “but for” the alleged racial

discrimination, he would not have suffered the deprivations alleged. Plaintiffs fail this test because

they have not plausibly alleged that they met the threshold, non-racial eligibility requirements.

       To plead standing, Article III requires plaintiffs to show that any injury is “‘fairly traceable’

to the ‘allegedly unlawful conduct’ of which they complain.” California v. Texas, 141 S. Ct. 2104,

2113 (2021). The traceability requirement means that “when a white male is alleging ‘reverse’

discrimination, he must prove that ‘but for’” the challenged race-based element, “he would have

been considered” for the program. Yeager v. Gen. Motors Corp., 67 F. App’x 335, 338 (6th Cir.

2003) (per curiam) (quoting Yeager v. Gen. Motors Corp., 265 F.3d 389, 395 (6th Cir. 2001)).

       Similarly, on the merits, a Section 1981 plaintiff “must initially plead and ultimately prove

that, but for race, it would not have suffered the loss of a legally protected right.” Comcast Corp.

v. Nat’l Ass’n of Afr. Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020). Concretely, this requires

considering “the counterfactual—what would have happened if the plaintiff had been” of a



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different race? Id. at 1015. The but-for causation test “is not met if the plaintiff would have

suffered the harm” complained of “even if the plaintiff had” been of a different race. Lemaster v.

Lawrence Cnty., 65 F.4th 302, 309 (6th Cir. 2023); accord Jackson v. Clinic Sec. & Logistics, Inc.,

No. 22-cv-985, 2023 WL 2734669, at *3 (N.D. Ohio Mar. 31, 2023) (similar).

       Plaintiffs here fail to plead the threshold causation requirement demanded by Article III

and Section 1981. There were at least five non-race-related eligibility criteria for the grants: (1)

having ten or fewer employees; (2) having less than $5 million in annual gross revenue; (3) having

a demonstrated need for a qualifying commercial vehicle to run the business; (4) having a clear

plan for growth as a result of the vehicle purchase; and (5) not being an independent contractor

providing a rideshare or food delivery service. FAC ¶ 18; FAC Ex. 3 at 3. Applicants who did

not meet these criteria would not receive grants, no matter their race. FAC Ex. 3 at 3.

       In their original complaint, Plaintiffs did not allege that they met any of these non-race

related criteria. Their attempt to cure this deficiency falls well short of Rule 8’s plausibility

threshold. Plaintiff Roberts executed a threadbare affidavit summarily stating that he “met the . . .

eligibility criteria.” FAC Ex. 8 ¶¶ 4-5. Roberts then lists the criteria, without providing any factual

content supporting his conclusory assertion—even though all relevant facts are within his control.

The affidavit’s deficiency is most striking with respect to whether Roberts had “a clear plan for

growth as a result of the vehicle purchase.” See id. ¶ 5. What was that plan? What made it “clear”?

What would Plaintiffs even have done with the truck? Plaintiffs offer exactly zero details—

perhaps unsurprising, given that Roberts forwarded the listing to litigation counsel less than 24

hours after receiving it. FAC Ex. 1 at 1. Similar questions go unanswered regarding Roberts’

supposed “demonstrated need for a qualifying commercial vehicle.” And even regarding the




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number of employees, revenue, and nature of Plaintiffs’ business, Roberts summarily states that

he “met” the criteria without a single corroborating detail.

       These allegations are “devoid of facts that would allow the Court to draw” the inference

Plaintiffs seek. Sam Han v. Univ. of Dayton, 541 F. App’x 622, 626 (6th Cir. 2013); accord

Vartinelli v. Aramark Corr. Servs. LLC, 796 F. App’x 867, 872 (6th Cir. 2019). There is no reason

Roberts could not have provided this information. Indeed, if plaintiffs must include factual details

“even if those facts are only within the head or hands of the defendants,” it is all the more important

to include them when they are within the plaintiffs’ exclusive control. New Albany Tractor, Inc.

v. Louisville Tractor, Inc., 650 F.3d 1046, 1051 (6th Cir. 2011).

       Perhaps recognizing the problem, Plaintiffs throw in an allegation on “information and

belief” that Hello Alice and Progressive would simply have overlooked failure to meet the non-

race related eligibility criteria. FAC ¶ 20. The exhibits to Plaintiffs’ complaint contradict that

allegation. FAC Ex. 3 at 3 (“Applicants must meet all of the below criteria to be eligible”

(emphasis added)); see Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673, 684 (6th Cir. 2011)

(allegations must be “viewed in light of the exhibits attached to the complaint”). And, in any

event, the Sixth Circuit has repeatedly held that similarly unsupported “information and belief”

allegations “contribute nothing” to a complaint. 16630 Southfield, 727 F.3d at 506; accord

Spencer v. City of Hendersonville, Tenn., No. 20-6168, 2021 WL 8016828, at *6 (6th Cir. Oct. 8,

2021); Barner v. Mackie, No. 17-1608, 2017 WL 5633399, at *3 (6th Cir. Nov. 2, 2017).

       Absent sufficient allegations of causation, this Court cannot conclude that “the plaintiff

would have suffered the harm even” without the Black ownership criterion. Lemaster, 65 F.4th at

309. That is fatal both as a matter of Article III standing and under the causation element of Section

1981. Id.; see also Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 323-324 (6th Cir. 2021) (“satisfying




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but-for cause requires plaintiffs to show that [race] had a ‘determinative influence on the

outcome’” (citation and emphasis omitted)); Yeager, 265 F.3d at 396.

       Attempting to dodge this straightforward conclusion, Plaintiffs puzzlingly allege that there

were two contracts, one providing merely a chance to compete. There is no legal authority to slice

and dice the grant program in this way. Even where a contest is governed by contract law—which

is not the case here, infra pp. 8-11—courts treat the entire program as a single “option contract”

that is “conditional on completion of . . . the terms of the offer.” See Restatement (Second) of

Contracts (“R.2d Contracts”) § 45. Moreover, as Plaintiffs have not alleged they were eligible

aside from the race requirement, they have not alleged they lost any “opportunity to compete.”

       The complaint suggests that Plaintiffs have adequately pled Article III standing so long as

they were “able and ready to apply” for a grant. FAC ¶ 29 (citing Carney v. Adams, 141 S. Ct.

493, 499-500 (2020), and Gratz v. Bollinger, 539 U.S. 244, 261 (2003)). The Sixth Circuit has

explained that a Plaintiff must allege he would have at least received “consideration” absent the

race-based criterion. Yeager, 265 F.3d at 395. Someone ineligible based on non-race related

criteria cannot satisfy that test, because they would not be under “consideration” regardless of their

willingness to apply. In other words, someone ineligible for unrelated reasons is not “able” to

apply. Carney illustrates that plaintiffs must supply factual support for claims that they are “ready

and able” to apply. 141 S. Ct. at 502. There, the Court rejected an attorney’s assertion that he was

“‘able and ready’ to apply in the imminent future” for a job as a judge where, among other things,

he had consistently declined to apply for vacancies and had also apparently retired. Id. at 500,

503. Here, Plaintiffs have not adequately pled that they would have been “able” to apply absent

the Black owned business requirement. See Fla. Carpenters, 964 F. Supp. 2d at 883 (“[t]hreadbare

recitals” and “conclusory statements[] do not suffice” (citation omitted)). Additionally, Plaintiffs




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cite no precedent that the ready-and-able-to-apply standard governs the causation element of a

Section 1981 claim under Comcast. So, even if Plaintiffs have adequately alleged Article III

standing, they still do not state a claim on the merits.3

        Plaintiffs’ also have not pled standing for injunctive relief because they have not alleged a

“sufficiently imminent and substantial” threat of future injury. Barber v. Charter Twp. of

Springfield, Mich., 31 F.4th 382, 390 (6th Cir. 2022) (citation omitted). Allegations of past harm

are insufficient. City of Los Angeles v. Lyons, 461 U.S. 95, 111-112 (1983). The application

deadline was June 2023, FAC Ex. 3 at 2, and Plaintiffs cite nothing except “information and belief”

to claim the grant will be offered again on similar terms, FAC ¶ 24. Such an allegation

“contribute[s] nothing” to the complaint. 16630 Southfield, 727 F.3d at 506; see supra p. 6

(collecting cases).

II.     THE CHALLENGED GRANT WAS NOT A CONTRACTUAL RELATIONSHIP.

       Plaintiffs’ claims likewise fail because they have not alleged any contractual relationship

that they were precluded from forming. Section 1981 governs the right “to make and enforce

contracts,” and directs that all persons should have “the full and equal benefit” of that right “as is

enjoyed by white citizens.” 42 U.S.C. § 1981(a). Consistent with that plain text, the Supreme

Court has recognized that “[a]ny claim brought under § 1981 . . . must initially identify” racial

discrimination that has “impaired [a] ‘contractual relationship’” or “block[ed] the creation of a

contractual relationship.” Domino’s Pizza, Inc. v. McDonald, 546 U.S. 470, 476 (2006).

        Plaintiffs have failed to make the required allegation of “some contractual right.” Williams

v. Richland Cnty. Child. Servs., 489 F. App’x 848, 851 (6th Cir. 2012). Courts look to state law



3
  If the Court believes separate standards govern these issues, it should address Article III standing
before Hello Alice’s arbitration and venue arguments, and address causation on the merits only if
it rejects Hello Alice’s arbitration and venue arguments.


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to determine whether such a relationship would be formed. See, e.g., Lindsay v. Yates, 498 F.3d

434, 442 (6th Cir. 2007). This Court therefore looks to Ohio law to determine whether Plaintiffs

would have formed a contractual relationship with Hello Alice or Progressive.4

       Ohio courts have held that “[g]ratuitous promises are not enforceable as contracts, because

there is no consideration.” Williams v. Ormsby, 966 N.E.2d 255, 259 (Ohio 2012) (quoting Carisle

v. T&R Excavating, Inc., 704 N.E.2d 39, 43 (Ohio Ct. App. 1997)). “A written gratuitous promise,

even if it evidences an intent by the promisor to be bound, is not a contract.” Carlisle, 704 N.E.2d

at 43. “Whether there is consideration at all”—and, therefore, whether a document is a “written

gratuitous promise” or a contract—is a question of law “proper . . . for a court” to resolve. Id.

         Importantly, “conditional gratuitous promises, which require the promisee to do

something before the promised act” are likewise “not enforceable as contracts.” Id. (citing R.2d

Contracts § 71 cmt. C). That is, even when “the terms of the gift” technically “impose a burden

on the donee as well as the donor,” a promise to make a gift does not become a contract. R.2d

Contracts § 71 cmt. C.     And, from the donor’s perspective, “[a] desire to help cannot be

consideration for a contract; rather, it is merely a motive.” Carlisle, 704 N.E.2d at 43.

       Williston on Contracts provides an archetypal example of a conditional gratuitous

promise—an example adopted by Ohio courts. See Carlisle, 704 N.E.2d at 45 & n.1 (citing 3

Williston on Contracts § 7:18 (4th ed. 1992)). In the example, “a rich man offer[s] to a poor man

that, if the poor man would go around the corner to a clothing store, the rich man would permit

him to buy a coat on his credit.” Id. at 45 n.1. “[E]ven though the poor man’s walk to the store



4
  See Glennon v. Dean Witter Reynolds, Inc., 83 F.3d 132, 136 (6th Cir. 1996) (courts in federal
question cases follow choice of law rules of forum state); Ohayon v. Safeco Ins. Co. of Ill., 747
N.E.2d 206, 211 (Ohio 2001) (Ohio focuses on “the place of contracting, the place of negotiation,
the place of performance, the location of the subject matter, and the domicile of the contracting
parties”); FAC ¶¶ 4-7 (stating residency of Plaintiffs and Progressive Defendants).


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may be induced by, and taken in reliance on, the promise, it would be unreasonable for either man

to understand the walk to the store as ‘consideration’ or as the price of the promise.” Id.

       In line with this example, Ohio cases have consistently found that conditional promises to

give something are not contracts. See, e.g., Carlisle, 704 N.E.2d at 45-46 (a “promise to provide

the excavation and site work services for [a] preschool at no cost was a gratuitous promise,” even

though recipient agreed to pay the costs of materials); Sowry v. Todd, 213 N.E.3d 212, 223 (Ohio

Ct. App. 2023) (settlement agreement gratuitous because the defendant had no “counterclaim or

potential counterclaim” and so provided no benefit to the plaintiff), appeal not allowed, 215

N.E.3d 563 (Ohio 2023); Playland Park Inc. v. Quality Mold, Inc., No. 26039, 2012 WL 1549915,

at *1, *3 (Ohio Ct. App. May 2, 2012) (promise to pay costs associated with rezoning was

gratuitous where promisor told promisee to “go ahead and do the work”).

       The grant program alleged here involves a gratuitous promise, not a contract. See Moye v.

Chrysler Corp., 465 F. Supp. 1189, 1190 (E.D. Mo. 1979) (Section 1981 does not apply to a

company’s choice “to voluntarily confer the benefit of [a charitable] payroll deduction plan” on a

particular organization), aff’d, 615 F.2d 1365 (8th Cir. 1979) (unpublished table opinion). The

complaint identifies two of the Grant Terms it considers “consideration”: (1) allowing “defendants

to use the applicant’s information for cross-selling and other . . . commercial use,” and (2) the

obligation to “use the money toward the purchase of a commercial vehicle.” FAC ¶¶ 21-22.

       Neither condition turns this gratuitous promise into a contract. See Carlisle, 704 N.E.2d at

43. Allowing Hello Alice and Progressive to make limited use of information submitted during

the grant process is no more onerous than the walk to the store in the Williston example—and it is

far less burdensome than the condition of providing thousands of dollars in material costs found




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not to be consideration in Carlisle. Id. at 45-46. Likewise, specifying that grantees purchase a

commercial vehicle is equivalent to directing the poor man to purchase a coat. Id. at 45 n.1.

         To be sure, the Grant Terms also include an arbitration provision—a provision Plaintiffs

do not even attempt to rely on to establish consideration. But, under Ohio law, even requiring a

party to sign a full release of liability does not turn a gratuitous promise into a binding contract

where the releasing party has no existing claim. Sowry, 213 N.E.3d at 223. By the same logic, a

provision purporting to channel hypothetical future disputes to arbitration does not nudge an

otherwise gratuitous promise into the territory of contract law.

III.     IF THE COURT CONCLUDES CONTRACT LAW GOVERNS THE GRANT,
         PLAINTIFFS’ CLAIM MUST BE SENT TO ARBITRATION; ALTERNATIVELY,
         THE COURT SHOULD TRANSFER THE CASE TO THE NORTHERN DISTRICT
         OF CALIFORNIA.

         If the Court concludes the Grant Terms are a contract, then the Court should enforce the

arbitration clause. The Grant Terms require “any dispute arising out of or relating to the Program

or these Terms and Conditions” to be resolved “individually and exclusively by final binding

arbitration” under American Arbitration Association (AAA) “arbitration rules.” Mot. Ex. 1.

         It is no answer that Roberts stopped filling out the application halfway through. Under

Ohio law, Plaintiffs are still required to arbitrate under the doctrine of equitable estoppel.

“Estoppel applies when a party who knowingly accepts the benefits of an agreement is estopped

from denying a corresponding obligation to arbitrate.” Cleveland-Akron-Canton Advert. Coop v.

Physician’s Weight Loss Ctrs. of Am., Inc., 922 N.E.2d 1012, 1016 (Ohio Ct. App. 2009) (citation

omitted) (“PWLC”). It “prevents a party from picking and choosing the contract terms that it

alleges govern its relationship with the other litigant.” Atricure, Inc. v. Meng, 12 F.4th 516, 527

(6th Cir. 2021). Estoppel applies when a plaintiff “seek[s] to enforce duties that ‘arise from the




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contract containing the arbitration clause.’” Id. at 527 (quoting Taylor v. Ernest & Young, L.L.P.,

958 N.E.2d 1203, 1213 (Ohio 2011)).

        Ohio law requires Plaintiffs to arbitrate. Through this suit, Plaintiffs seek to enforce the

Grant Terms against Hello Alice and Progressive. See, e.g., FAC ¶ 23 (alleging Plaintiffs were

precluded from the opportunity “to compete for and obtain the grant”); id. ¶ 32 (alleging Plaintiffs

“were denied the ability to enter into contracts with the defendants”). Indeed, the relief Plaintiffs

seek includes an injunction allowing them “to enter into the contracts described herein.” Id. ¶ 49.

Had Roberts simply finished filling out the application, there could be no dispute Plaintiffs were

required to arbitrate. They cannot avoid that obligation by leaving the application half-finished

even as they continue to seek “the benefits of [the] agreement.” PWLC, 922 N.E.2d at 1016.5

        Critically, the question of whether equitable estoppel binds the Plaintiffs is itself a question

for the arbitrator, not the Court. The arbitration provision here incorporates AAA rules. Mot. Ex.

1. Under controlling Sixth Circuit precedent, incorporating AAA rules amounts to a “clear and

unmistakable” delegation of the question of arbitrability to the arbitrator. See Blanton v. Domino’s

Pizza Franchising LLC, 962 F.3d 842, 846 (6th Cir. 2020); accord AAA, Commercial Arbitration

Rules & Mediation Procedures, R-7(a) (2022). When such a delegation clause exists, whether

equitable estoppel applies “presents a question of arbitrability . . . delegated to an arbitrator.”

Swinger v. Rosette, 989 F.3d 501, 507 (6th Cir. 2021); accord Becker v. Delek US Energy, Inc.,

39 F.4th 351, 355 (6th Cir. 2022). The FAA thus requires this Court to stay litigation and compel

arbitration.




5
 Roberts acted on behalf of himself and Freedom Truck Dispatch in filling out the forms. See
FAC ¶ 29.


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        If the Court does not compel arbitration, at a minimum it should enforce the forum selection

clause Roberts agreed to when he created an account with Hello Alice. The Account Terms

provide that “exclusive jurisdiction for resolving any claim or dispute with [Hello Alice] or relating

in any way to your use of the Platform or the Services resides in the state and federal courts of

Sonoma County, California” and provide consent to personal jurisdiction there, too. Mot. Ex. 3 at

16. The clause extends to all “Services,” including all “products, and personalized content,”

available on the “Platform,” defined to include Hello Alice’s website, or any “related websites and

mobile applications.” Mot. Ex. 3 at 1.6 That broad scope encompasses this suit, and this Court

should therefore transfer this case to the Northern District of California (the federal court serving

Sonoma County). See Atl. Marine, 571 U.S. at 62 (“Only under extraordinary circumstances

unrelated to the convenience of the parties should a § 1404(a) motion” based on a forum selection

clause “be denied.”); Rosskamm v. Amazon.com, Inc., 637 F. Supp. 3d 500, 510-511 (N.D. Ohio

2022) (collecting cases enforcing similar forum selection clauses).

IV.     APPLYING SECTION 1981 TO THE CHALLENGED GRANT PROGRAM
        WOULD VIOLATE THE FIRST AMENDMENT.

        On the merits, the Court should dismiss this case because applying Section 1981 to Hello

Alice would violate First Amendment guarantees of freedom of speech and expression.

        The attachments to the complaint establish that the purpose of the grant program is to

express disapproval of—and to emphasize the importance of remedying—the “inequities” that

“have made it harder for Black entrepreneurs to access capital.” FAC Ex. 3 at 2; see also FAC Ex.

4 at 2 (“With the Driving Business Forward grant program, Progressive is extending support to



6
  The forum selection clause covers all activities on Hello Alice’s websites, while the arbitration
clause applies solely to grant applicants. Even if the Court concludes Plaintiffs are not bound to
arbitrate through equitable estoppel, they remain bound by the forum selection clause Roberts
agreed to when he created an account.


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help close these gaps for Black entrepreneurs and elevate their businesses.”); Amicus Br. at 10-11

(detailing these inequalities). “[D]onating money qualifies as expressive conduct.” Coral Ridge

Ministries Media, Inc. v. Amazon.com, Inc., 6 F.4th 1247, 1254 (11th Cir. 2021), cert denied sub

nom., Coral Ridge Ministries Media, Inc. v. S. Poverty L. Ctr., 142 S. Ct. 2453 (2022); see also

Taverns for Tots, Inc. v. City of Toledo, 341 F. Supp. 2d 844, 855 (N.D. Ohio 2004) (recognizing

“giving money to charity as a form of speech or expression”). These grants clearly involve “some

form of expression” regarding racial inequities, and the vital importance of remedying those

problems. Boy Scouts of Am. v. Dale, 530 U.S. 640, 648 (2000). Alternatively, the grants here are

a form of “political speech.” Citizens United v. FEC, 558 U.S. 310, 342 (2010). As a charitable

grant directed specifically at sociopolitical inequities in America’s capital infrastructure, the grants

are one of those “forms of communication made possible by the giving and spending of money”

that “involve speech alone.” Buckley v. Valeo, 424 U.S. 1, 16 (1976) (per curiam).

        Viewed as either expressive conduct or political speech, the grants trigger First

Amendment protections. See Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 788-

801 (1988) (holding the First Amendment protects various aspects of a charitable organization’s

business operations); Planet Aid v. City of St. Johns, 782 F.3d 318, 326 (6th Cir. 2015) (“speech

regarding charitable giving and solicitation is entitled to strong constitutional protection”). The

First Amendment therefore prohibits plaintiffs from using the courts to alter the sociopolitical

message that a private party conveys through the terms on which it offers monetary donations.

“The First Amendment protects ‘the right to speak freely and the right to refrain from speaking at

all.’” Meriwether v. Hartop, 992 F.3d 492, 503 (6th Cir. 2021). The government therefore “may

not compel affirmance of a belief with which the speaker disagrees,” and when it “tries to do so

anyway, it violates this ‘cardinal constitutional command.’” Id. (citations omitted). Because the




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“choice of what charities are eligible to receive donations” is part and parcel of the expression

involved in this grant program, the government cannot dictate the terms on which the donor

chooses to offer the grant. Coral Ridge, 6 F.4th at 1255; see also Dale, 530 U.S. at 653 (courts

must “give deference to an association’s assertions regarding the nature of its expression,” as well

as “what would impair [that] expression”).

       The First Amendment’s prohibition on compelling speech extends to applying general non-

discrimination laws like Section 1981 to expressive conduct or political speech. The Supreme

Court’s recent opinion in 303 Creative LLC v. Elenis, 600 U.S. 570 (2023), illustrates this rule.

303 Creative recognized that the First Amendment prohibits seeking “to compel a person to speak

its message . . . or to force an individual to include other ideas with his own speech that he would

prefer not to include.” Id. at 586. The Court applied that rule in the context of website designer,

holding that Colorado’s general anti-discrimination provision—which covers sexual orientation—

could not be used to compel the provider to design a website for a same-sex marriage. Id. at 588.

The Court held that “no public accommodations law is immune from the demands of the

Constitution” and therefore the law could not be used “to compel speech.” Id. at 592.

       303 Creative built on principles from Hurley v. Irish-American Gay, Lesbian, and Bisexual

Group of Boston, 515 U.S. 557 (1995), and Boy Scouts of America v. Dale. Hurley held that

Massachusetts’s public accommodations law could not be used to force parade organizers to

include a group when doing so would amount to “alter[ing] the expressive content of their parade.”

515 U.S. at 572-573. The Court emphasized the right of one engaged in protected expressive

conduct “to tailor the speech” and avoid “endorsement . . . the speaker would rather avoid.” Id. at

573. Dale similarly held that the Boy Scouts could not be compelled to include a gay scoutmaster,

whose inclusion “would significantly affect its expression” in the form of teaching against




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homosexuality. 530 U.S. at 656. Dale recognized that enforcing such non-discrimination laws

would impermissibly “interfere with the ideas that the organization sought to express.” Id. at 657.

         Thus, where an altruistic grant’s purpose is to disapprove of and remedy racism’s

pernicious effects, the First Amendment prohibits using Section 1981 to interfere with that

message. A contrary rule would “modify the content of” the donor’s speech,” Coral Ridge, 6 F.4th

at 1256, or “deny speakers the right ‘to choose the content of [their] own message[s],’” 303

Creative, 600 U.S. at 592 (citation omitted). Here, compelling Hello Alice to expand the grant’s

terms would dilute its message regarding racial inequality beyond recognition.                The First

Amendment does not permit a person to be “shanghaied for [such] an unwanted voyage.” Janus

v. Am. Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2466 (2018). Indeed,

there is a long tradition in this country of providing support and charity to particular ethnic or racial

groups that have historically faced stigma—including, for example, the Sons of Italy7 and the

Hebrew Free Burial Association.8

         A district court in Georgia reached a similar conclusion. Am. All. for Equal Rts. v. Fearless

Fund Mgmt., LLC, No. 23-CV-3434, 2023 WL 6295121 (N.D. Ga. Sept. 27, 2023). The court

recognized that, through grants, the defendant “clearly intends to convey a particular message”

about the value of businesses owned by Black women. Id. at *6. And it concluded that, under 303

Creative, the First Amendment would prevent Section 1981 from altering that “speech and

expression.” Id. at *6-7. The court relied on Coral Ridge, which held federal anti-discrimination

laws could not compel Amazon to include organizations with religious views the company found

objectionable among potential recipients for donations. Coral Ridge, 6 F.4th at 1254-56.




7
    https://www.osdia.org/
8
    https://www.hebrewfreeburial.org/


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       An Eleventh Circuit motions panel granted an injunction pending appeal, but the panel’s

conclusory reasoning is deeply flawed. The court attempted to distinguish 303 Creative on the

grounds that the grants there did not “provide ‘expressive services’ or otherwise engage in ‘pure

speech.’” Am. All. for Equal Rts. v. Fearless Fund Mgms., LLC, No. 23-13138, 2023 WL 6520763,

at *1 (11th Cir. Sept. 30, 2023). But 303 Creative did not turn on such a distinction. On the

contrary, it applied principles developed in expressive conduct cases, such as Hurley and Dale,

recognizing those cases “may not have implicated pure speech.” 303 Creative, 600 U.S. at 586

(citing Dale, 530 U.S. at 656). Nevertheless, the organizations were entitled to First Amendment

protection from laws that would have “materially interfere[d] with the ideas that the organization

sought to express.” Dale, 530 U.S. at 657. Moreover, even if “pure speech” were required, the

challenged grants here are directly targeted at the sociopolitical conditions fueling inequitable

access to capital, FAC Ex. 3 at 2; FAC Ex. 4 at 2, and therefore constitute protected “political

speech” under Supreme Court precedent, Citizens United, 558 U.S. at 342.

       The Eleventh Circuit stay panel also cited Runyon v. McCrary, 427 U.S. 160 (1976), but

Runyon does not undermine the First Amendment’s protection here. In Runyon, the Supreme

Court held that the conduct at issue—excluding children from private schools based on race—was

not “accorded affirmative constitutional protections.” Id. at 161 (citation omitted). In other words,

the Court held that the segregation policy at issue in Runyon simply did not implicate the

constitutional freedom of association embodied in the First Amendment. Id. at 176; see also id.

(recognizing that admission of Black students would not “inhibit in any way the teaching in these

schools of any ideas or dogma” (citation omitted)). Accordingly, Runyon did not consider how to

handle a conflict between First Amendment-protected conduct and a public accommodation law.

The Eleventh Circuit was therefore wrong to read Runyon to conclude that the First Amendment




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“does not give the defendants the right to exclude persons from a contractual regime based on their

race.” Fearless Fund, 2023 WL 6520763, at *1. On the contrary, 303 Creative squarely held that

“no public accommodations law is immune from the demands of the Constitution.” 600 U.S. at

592. As the grants here are protected, Runyon does not undermine 303 Creative’s clear command.

       Tellingly, the Fearless Fund stay panel altogether ignored Coral Ridge and its conclusion

that compelled donations were incompatible with the First Amendment. See Fearless Fund, 2023

WL 6520763, at *1. The Eleventh Circuit’s reasoned opinion in Coral Ridge correctly assessed

the Supreme Court’s precedent in this area—not the Fearless Fund summary order—and this

Court should follow Coral Ridge’s persuasive reasoning to conclude that the First Amendment

bars Plaintiffs’ suit. At minimum, the Court should read Section 1981 in light of these concerns

and construe it to permit these grants. See Torres v. Precision Indus., Inc., 938 F.3d 752, 754-755

(6th Cir. 2019) (citation omitted); see supra pp. 8-11 (Section 1981 inapplicable to non-contractual

grants); infra pp. 19-20 (discussing private affirmative action programs).

       Plaintiffs also appear to argue that the grants were really a “marketing scheme” and

therefore unprotected by the First Amendment. See FAC ¶ 25. That allegation is not plausible

because it contradicts the complaint exhibits explaining the grant’s motivations. See FAC Ex. 3

at 2; FAC Ex. 4 at 2; Rondigo, 641 F.3d at 684 (allegations must be viewed alongside exhibits).

Moreover, Plaintiffs’ theory appears to be that any element of commercial motivation defeats a

protected First Amendment purpose. That argument fails as a matter of law. In 303 Creative, for

instance, the Court found a service offered for sale to be protected. See 600 U.S. at 596. Coral

Ridge likewise involved a donation program that incentivized commercial transactions by donating

a percentage of “every purchase . . . to an eligible charity selected by the consumer.” 6 F.4th at

1250. Thus, Plaintiffs fail to allege any facts inconsistent with First Amendment protections.




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V.     THE CHALLENGED GRANT PROGRAM WAS A VALID AFFIRMATIVE
       ACTION PROGRAM.

       The Supreme Court has recognized that anti-discrimination provisions like Section 1981

are not applicable to private-sector affirmative action programs. Johnson v. Transp. Agency, Santa

Clara Cnty., 480 U.S. 616, 626-627 (1987). Specifically, it recognized that “an affirmative action

plan” is a permissible “nondiscriminatory rationale” for race-conscious behavior under federal

anti-discrimination statutes. Id. Where a defendant asserts “reliance on [an] affirmative action

plan,” the “burden of proving its invalidity remains on the plaintiff.” Id. at 627. These principles

apply in Section 1981 cases. See, e.g., Doe v. Kamehameha Schs., 470 F.3d 827, 837-838 (9th

Cir. 2006) (en banc); Ferrill v. Parker Gr., Inc., 168 F.3d 468, 474 & n.12 (11th Cir. 1999); see

also United Steelworkers of Am., AFL-CIO-CLC v. Weber, 443 U.S. 193, 204 (1979) (recognizing

that, even after Section 1981 and Title VII, Congress had not passed a “legislative prohibition of

all voluntary, private, race-conscious efforts to abolish traditional patterns of racial segregation”).

       A lawful affirmative action program exists where there is “a ‘manifest imbalance’ . . . that

would justify taking . . . race into account” and the plan does not “unnecessarily trammel[] the

rights of” other groups. Johnson, 480 U.S. at 631-632, 637. Those criteria encompass the

challenged grant program. The complaint’s exhibits evidence precisely the kind of “manifest

imbalance” that Johnson contemplates, noting “[w]hile 20 percent of Black Americans start

businesses, only four percent of these businesses survive the startup stage due in large part to the

difficulty Black business owners have in accessing financing.” FAC Ex. 4 at 2; see also FAC Ex.

3 at 2 (“Multiple studies have shown how inequities have made it harder for Black entrepreneurs

to access capital.”); Amicus Br. at 10-11. Plaintiffs allege nothing to support a contrary position.

       Plaintiffs have also not alleged that ineligibility for the specific grant at issue

“unnecessarily trammel[s]” their rights. Johnson, 480 U.S. at 637. Once again, their allegations



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establish that the opposite is true. The grant’s promotional materials expressly state that “the Hello

Alice Small Business Growth Fund . . . awards grants to small business owners of all backgrounds

and ethnicities.” FAC Ex. 4 at 3; see also id. at 4. Indeed, another grant open to “small business

owners of all backgrounds” was available immediately after the grant at issue. FAC Ex. 1 at 2.

       Plaintiffs may attempt to argue that Johnson was implicitly overruled by Students for Fair

Admissions, Inc. v. President & Fellows of Harvard College, 600 U.S. 181 (2023). They would

be wrong. Most critically, Johnson and its progeny are statutory decisions, not constitutional

decisions. Stare decisis “carries enhanced force when a decision . . . interprets a statute” because

“critics of [the] ruling can take their objections” to Congress, who “can correct any mistake it

sees.” Kimble v. Marvel Ent., LLC, 576 U.S. 446, 456 (2015); accord Ramos v. Louisiana, 140 S.

Ct. 1390, 1413 & n.2 (2020) (Kavanaugh, J., concurring). Students for Fair Admissions is also

trained on “governmentally imposed discrimination based on race.” 600 U.S. at 206 (cleaned up)

(emphasis added). It does not undermine Johnson’s focus on Congress’s decision not to proscribe

“voluntary, private, race-conscious efforts to abolish traditional patterns of racial segregation.”

480 U.S. at 629 (citation omitted); see also Amicus Br. at 4-7 (discussing this history). The Court

should thus apply Johnson to hold this grant is a permissible private affirmative action program.

                                          CONCLUSION

       For these reasons, Hello Alice’s motion should be granted and the complaint should be

dismissed for lack of Article III standing under Rule 12(b)(1). If the Court concludes that Plaintiffs

have standing and have alleged a contractual relationship, the Court should stay this litigation and

compel arbitration under the FAA or, alternatively, transfer venue to the Northern District of

California under 28 U.S.C. § 1404(a). Otherwise, the complaint should be dismissed under Rule

12(b)(6). If the Court dismisses under Rule 12(b)(6), it should do so with prejudice because

Plaintiffs have already taken a full opportunity to cure the deficiencies identified in this Motion.


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Dated: February 7, 2024                     Respectfully submitted,


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                               CERTIFICATE OF COMPLIANCE

       I, Michael N. Ungar, certify that this case has not been assigned to any track under L.R.

16.2(a). I further certify that this memorandum complies with the page limitation set forth in L.R.

7.1(f) for unassigned cases.


                                                             /s/ Michael N. Ungar
                                                             One of the Attorneys for Defendant
                                                             Circular Board Inc.



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of February, 2023, a copy of Defendants’ Motion to

Dismiss and Memorandum in Support of Motion to Dismiss was filed electronically. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system.



                                                             /s/ Michael N. Ungar
                                                             One of the Attorneys for Defendant
                                                             Circular Board Inc.




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